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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION



DAVID NDALAMBA, and STARLINE
MEDIA, INC.                                        Civil Action No. 6:20-CV-01210-GAP-GJK
           Plaintiffs,

       v.

ELISHA TRICE, JOMY STERLING, and                              JURY DEMAND
STAR STATUS GROUP

             Defendants.



JOMY STERLING and STAR STATUS
GROUP
         Counterclaim Plaintiffs,

       v.

DAVID NDALAMBA and TYLER GNASS
             Counterclaim Defendants.



     DEFENDANTS JOMY STERLING AND STAR STATUS GROUP’S RENEWED
      MOTION TO DISMISS AND INCORPORATED MEMORANDUM OF LAW

       Pursuant to Federal Rules of Civil Procedure 8(a) and 12(b)(6), Defendants Jomy Sterling

and Star Status Group (“SSG”) hereby respectfully request that the Court dismiss, with preju-

dice, Counts III and IV of Plaintiffs David Ndalamba and Starline Media, Inc.’s Amended Com-




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plaint [Dkt. No. 24] (the “Amended Complaint”) with respect to Ms. Sterling and SSG for fail-

ure to state a claim upon which relief can be granted.1


                                         INTRODUCTION

        Even if the Court assumes that the well-plead allegations in the Amended Complaint are

true, it fails to establish an entitlement to relief as a matter of law with respect to Counts III and

IV. The tortious interference with contractual relationship claim (Count III) fails because it is

preempted by the Florida Uniform Trade Secrets Act (“FUTSA”). The FUTSA claim (Count IV)

fails because the Complaint fails to plausibly allege that Ms. Sterling or SSG knew or had reason

to know she or it acquired a trade secret by improper means. As such, Counts III and IV should

be dismissed with prejudice.


                                  RELEVANT BACKGROUND2

        The Plaintiffs filed the initial complaint against Ms. Sterling and SSG on July 8, 2020

[Dkt. No. 1], which was subsequently served on Ms. Sterling and SSG on July 16, 2020. On Au-

gust 6, 2020 Ms. Sterling and SSG filed a motion to dismiss Counts III, IV, and V of the initial

complaint. [Dkt. No. 15]. On August 31, 2020, in response to the Defendants’ motion to dismiss,

Plaintiffs filed the Amended Complaint [Dkt. No. 24] in an attempt to cure the deficiencies


1
  Filing a partial motion to dismiss suspends the time to respond to the entire complaint. See
Jacques v. First Liberty Ins. Corp., No. 8:16-cv-1240-T-23TBM, 2016 U.S. Dist. LEXIS 80556,
at *2-3 (M.D. Fla. June 9, 2016) (“The majority of courts considering this question have con-
cluded that a party need not file an answer while a partial motion to dismiss is pending.”); see
also Beaulieu v. Bd. of Trs. of Univ. of W. Fla., No. 3:07-cv-30-RVEMT, 2007 U.S. Dist. LEXIS
104009, at *2 (N.D. Fla. July 9, 2017) (collecting cases).
2
  At the motion to dismiss stage, the well-pleaded facts alleged in the complaint must be accepted
as true. St. Joseph’s Hosp., Inc. v. Hosp. Corp. of Am., 795 F.2d 948, 953 (11th Cir. 1986). De-
fendants Ms. Sterling and SSG respectfully reserve their right to contest any of the facts raised in
the Amended Complaint at the appropriate time.



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raised by the Defendants’ original motion to dismiss. The Plaintiffs dropped the Computer Fraud

and Abuse Act claim (which was Count IV in the original complaint) but left in the tortious inter-

ference with contractual relationships claim (Count III in the Amended Complaint) and the mis-

appropriation of trade secrets claim (Count IV in the Amended Complaint). Plaintiffs’ new alle-

gations in the Amended Complaint do not cure the deficiencies raised by the Defendants’ original

motion to dismiss, and as a result, Ms. Sterling and SSG file this renewed motion to dismiss.


                                        LEGAL STANDARD

        To survive a motion to dismiss, Plaintiffs must set forth factual allegations that, if accept-

ed as true, are sufficient to show that they are “entitled to relief.” Fed. R. Civ. P. 8(a)(2); see also

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). To accomplish this goal, the pleader must provide

enough factual allegations to raise a right to relief above the speculative level, Bell Atlantic Corp.

v. Twombly, 550 U.S. 544, 555 (2007), and to indicate the presence of the required elements for

each of the pleader’s claims, Watts v. Fla. Int’l Univ., 495 F.3d 1289, 1302 (11th Cir. 2007). Con-

clusory allegations, unwarranted factual deductions or legal conclusions masquerading as facts

will not prevent dismissal. Davila v. Delta Air Lines, Inc., 326 F.3d 1183, 1185 (11th Cir. 2003).

This standard “demands more than an unadorned, the-defendant-unlawfully-harmed-me accusa-

tion. A pleading that offers labels and conclusions or a formulaic recitation of the elements of a

cause of action will not do. Nor does a complaint suffice if it tenders naked assertions devoid of

further factual enhancement.” Iqbal, 556 U.S. at 678 (internal citations and quotations omitted).

“[W]here the well-pleaded facts do not permit the court to infer more than the mere possibility of

misconduct, the complaint has alleged – but it has not ‘show[n]’ – ‘that the plaintiff is entitled to

relief.’” Id. at 679 (quoting Fed. R. Civ. P. 8(a)(2)).




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                                          ARGUMENT


    1. PLAINTIFFS’ COUNT III IS PREEMPTED BY THEIR CLAIM UNDER FUTSA.
       Plaintiffs’ claim for tortious interference with a contractual relationship (Count III) is

preempted by Plaintiffs’ FUTSA claim (Count IV). Count III is predicated on Ms. Sterling and

SSG’s alleged misappropriation of Plaintiffs’ alleged trade secret information and the allegations

that form the basis of Count III are not materially distinct from Plaintiffs’ FUTSA claim.3 Com-

pare Dkt. No. 24, ¶¶ 73-80 with ¶¶ 86-88.

       Section 688.008, Florida Statutes, provides that the FUTSA “displace[s] conflicting tort,

restitutionary, and other law[s] of this state providing civil remedies for misappropriation of trade

secret.” See Allegiance Healthcare Corp. v. Coleman, 232 F. Supp. 2d 1329, 1335-36 (S.D. Fla.

2002). However, FUTSA will not apply if the other alleged cause of action is “not based upon

misappropriation of a trade secret.” Fla. Stat. § 688.008(2)(b). The issue thus “becomes whether

allegations of trade secret misappropriation alone comprise the underlying wrong; if so, the cause

of action is barred by § 688.008.” Allegiance, 232 F. Supp. 2d. at 1335-36 (internal citations

omitted).

       Therefore, since Plaintiffs’ Count III against Ms. Sterling and SSG is predicated upon

their alleged misappropriation of information protected under the FUTSA that count is preempt-

ed and should be dismissed.


3
  Preemption under the FUTSA applies whether or not Plaintiffs’ information ultimately consti-
tutes a trade secret worthy of protection under FUTSA. See Am. Registry, LLC v. Hanaw, No.
2:13-cv-352-FTM-29CM, 2014 U.S. Dist. LEXIS 101158, at *6 (M.D. Fla. July 16, 2014) (col-
lecting cases and stating the majority position that “the FUTSA preempts all non-contract claims
based on the misappropriation of confidential and/or commercially valuable information even if
the information does not constitute a trade secret under the FUTSA.”); Jouria v. CE Resource,
Inc., No. 0:15-cv-61165-WPD, 2017 U.S. Dist. LEXIS 111698, at *14-15 (S.D. Fla. July 12,
2017) (tortious interference claim related to a NDA is preempted by the FUTSA).



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    2. PLAINTIFFS’ TRADE SECRET CLAIM FAILS BECAUSE IT DOES NOT
       PLAUSIBLY ALLEGE MISAPPROPRIATION ON THE PART OF EITHER MS.
       STERLING OR SSG.
       Plaintiffs’ trade secret misappropriation claim under the FUTSA (Count IV) fails because

the Amended Complaint fails to plausibly allege any misappropriation on the part of either Ms.

Sterling or SSG. To establish a claim for misappropriation under the FUTSA, the “Plaintiffs must

show that (1) they possessed valuable confidential information and took reasonable steps to pro-

tect it and (2) the information was ‘misappropriated,’ either by one who knew or had reason to

know that secret was improperly obtained or by one who used improper means to obtain it.”

Greenberg v. Miami Children’s Hosp. Research Inst., Inc., 264 F. Supp. 2d 1064, 1077 (S.D. Fla.

May 29, 2003) (internal citations omitted); Fla. Stat. § 688.002. “Improper means” is defined to

mean “theft, bribery, misrepresentation, breach or inducement of a breach of a duty to maintain

secrecy, or espionage through electronic or other means.” Fla. Stat. § 688.002(1).

       Here, other than the conclusory allegations that Defendants “had knowledge of the

[NDA]” [Dkt. No. 24, ¶ 77]4, “knew, and had actual knowledge that Defendant TRICE had in his

possession the trade secrets” [Dkt. No. 24, ¶ 85], “knew that TRICE had obtained and stolen the

trade secrets” [Dkt. No. 24, ¶ 86], “knowingly misappropriated unlawfully” [Dkt. No. 24, ¶ 88],

and “misappropriated and threatened to misappropriate trade secrets in violation of Florida’s

Uniform Trade Secrets Act, Fla. Stat. Ch. 688” [Dkt. No. 24, ¶ 83], there are no well-plead, plau-

sible factual allegations in the Amended Complaint that show how Ms. Sterling or SSG knew or

4
  Conclusory allegations of a defendant’s knowledge, without more, are legally insufficient alle-
gations. See Gonzalez v. Amazon.com, Inc., No. 19-23988-Civ-Scola, 2020 U.S. Dist. LEXIS
41718, at *6 (S.D. Fla. Mar. 10, 2020) (citing Twombly, 550 U.S. at 557) (the complaint’s con-
clusory allegations “that the Defendants knowingly and intentionally trafficked in confiscated
property…without any other allegations demonstrating the Defendants’ knowledge, are legally
insufficient to state a claim.”); see also Furnari v. Nuance Communs., No. 6:11-cv-01119-Orl-
36GJK, 2012 U.S. Dist. LEXIS 207050, at *15 (M.D. Fla. Feb. 27, 2012) (plaintiff’s conclusory
allegation of defendant’s knowledge of a contract insufficient under Twombly).



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had reason to know that Plaintiffs’ alleged trade secrets were obtained by Trice by improper

means. Specifically, no where in the Amended Complaint does it plausibly allege how Ms. Ster-

ling or SSG came to know about the NDA Trice signed or what Trice allegedly did to gain access

to Plaintiffs’ alleged trade secrets, which means they could not have known that they were re-

ceiving any alleged trade secrets from Trice or otherwise using any trade secrets in violation of

the Trice NDA. Thus, the Plaintiffs’ Count IV should be dismissed.


                                         CONCLUSION

       Because Counts III and IV of the Amended Complaint fail to state claims upon which

relief can be granted Ms. Sterling and SSG respectfully request that the Court dismiss them with

prejudice pursuant to Fed. R. Civ. P. 12(b)(6).



DATED: September 18, 2020                         Respectfully submitted,

                                                  Jomy Sterling AND
                                                  Star Status Group
                                                  By Their Attorney,
                                                  /s/ Shaun P. Keough
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                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed

with the Court using the Court’s ECF System which will electronically serve a copy on Sep-

tember 18, 2020 on all counsel of record.


                                                   BY: s/ Shaun P. Keough
                                                   Shaun P. Keough, Esquire
                                                   Fla. Bar No.: 1000985




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